Case 6:10-cv-01847-ACC-DAB Document 5 Filed 12/30/10 Page 1 of 1 PageID 19




                              UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

   GILBERTO SOTO,

                                 Plaintiff,


   -vs-                                                      Case No. 6:10-cv-1847-Orl-22DAB


   NATIONS RECOVERY CENTER
   INCORPORATED,

                           Defendant.
   _____________________________________



                                               ORDER

          Based on Plaintiff=s Notice of Voluntary Dismissal With Prejudice (Doc. No. 4), filed on

  December 29, 2010, it is ORDERED as follows:

          1. This case is DISMISSED, WITH PREJUDICE.

          2. The Clerk shall close the case.

          DONE and ORDERED in Chambers, in Orlando, Florida on December 30, 2010.




  Copies furnished to:

  Counsel of Record
  Unrepresented Party
